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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff, Case No.: 24-mj-00094-SH-1
VS. Date: 2/13/2024

Court Time: 2: Been =e 39 e

Morgan Cole Womack,
MINUTE SHEET — DETENTION AND/OR

Defendant(s). PRELIMINARY HEARING
Christine D. Little, U.S. Magistrate Judge L. Lewis, Deputy Clerk Magistrate Courtroom |
Interpreter: CL) Sworn
Counsel for Plaintiff: Adam Bailey
Counsel for Defendant: Craig M Hoehns Appt.
Case called for: Detention Hearing, CI) Preliminary Hearing;

Defendant appears in custody with counsel;
Defendant waives: Q] Preliminary Hearing Detention Hearing, waiver(s) executed;
(1) Government withdraws their Motion for Detention # 3 :
L] Defense counsel stipulates there is probable cause;
CL) Proffer(s) made;
C) Witness(es) sworn and testimony given;
C) Arguments heard;
CJ Court Finds Probable Cause;
Motion for Detention (Dkt # 3 ): O granted, O denied, moot:
C) Court finds there are conditions which defendant can be released; Defendant ordered released;
C) Bond set at Bond and Conditions of Release executed:
Defendant detained and remanded to custody of U.S. Marshal, CJ] Detention Order to be entered;
C) Exhibit(s) returned to counsel.
Additional Minutes:

Government’s Witnesses: Defendant’s Witnesses:

Government’s Exhibits: Defendant’s Exhibits:

Detention Hearing and/or Preliminary Hearing (8/2021)
